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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                            NO. CR12-240-RSL

 9                                 Plaintiff,

10          v.                                            DETENTION ORDER
11
     GLEN JAMES KLAGES,
12
                                   Defendant.
13

14   Offenses charged:
15
            Count 1:        Conspiracy to Distribute Cocaine
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            Count 2:        Conspiracy to Export Cocaine
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     Date of Detention Hearing: April 7, 2014
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            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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     defendant is a flight risk and a danger to the community based on the nature of the pending
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     charges.
24
            2.      Defendant has stipulated to detention, but reserves the right to contest his
25
     continued detention if there is a change in circumstances.
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            3.      There are no conditions or combination of conditions other than detention that
 2
     will reasonably assure the appearance of defendant as required or ensure the safety of the
 3
     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
 8
                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
11
            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 7th day of April, 2014.
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20                                                AJAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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